1844 (Rev. 1207 Case 1:10-Cv-1218 4-9 POWER Se EE 12/17/10 Page 1of1

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a) PLAINTIFFS DEFENDANTS
JAY STEINMETZ, et al. . BEAVEX INCORPORATED and MARK TUCHMANN
(b) County of Residence of First Listed Plaintiff Hampden County of Residence of First Listed Defendant Atlanta, GA
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED.
(c) Attorney’s (Firm Name, Address, and Telephone Number) Attorneys (If Known)
Harold L. Lichten, Shannon Liss-Riordan, Ian O. Russell Christpher B. Kaczmarek
Lichten & Liss-Riordan, P.C. Littler Mendelson, P.C.
100 Cambridge Street, 20" Floor One International Place, Suite 2700
Boston, MA 02114 Boston, MA 02110
617-994-5800 617-378-6000
II. BASIS OF JURISDICTION (lace an “x” in One Box Only) I. CITIZENSHIP OF PRINCIPAL PARTIES (lace an “x” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
PTF DEF PTF DEF
(11 U.S. Government (13 Federal Question Citizen of This State Ki O11 Incorporated or Principal Place C4 C14
Plaintiff . (U.S. Government Not a Party) of Business In This State
[J2 US. Government 4 Diversity Citizen of Another State [[] 2 O2 Incorporated and Principal Place Os 5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject ofa 13 (J3 Foreign Nation Ole D6
Foreign Country
IV. NATURE OF SUIT (Piece an “x” in One Box Only)
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY | PERSONAL INJURY 610 Agriculture H 422 Appeal 28 USC 158 400 State Reapportionment
120 Marine 310 Airplane CO 362 Personal Injury— |_| 620 Other Food & Drug 423 Withdrawal 410 Antitrust
130 Miller Act 315 Airplane Product Med. Malpractice L_] 625 Drug Related Seizure 28 USC 157 430 Banks and Banking
140 Negotiable Instrument Liability oO 365 Personal Injury — of Property 21 USC 881 450 Commerce
150 Recovery of Overpayment [7] 320 Assault, Libel & Product Liability 630 Liquor Laws PROPERTY RIGHTS 460 Deportation
& Enforcement of Judgment Slander CL] 368 Asbestos Personal 640 R.R. & Truck 20 C sch 470 Racketeer Influenced and
H 151 Medicare Act (J 330 Federal Employers’ Injury Product 650 Airline Regs. ; 30 Parent ts Corrupt Organizations
152 Recovery of Defaulted Liability Liability 660 Occupational 340 tay k 480 Consumer Credit
Student Loans 340 Marine PERSONAL PROPERTY Safety/Health raceman) 490 Cable/Sat TV
q (Excl. Veterans) 345 Marine Product 370 Other Fraud Oo 690 Other 810 Selective Service
153 Recovery of Overpayment Liability 371 Truth in Lendin 850 Securities/Commodities/
of Veteran’s Benefits 350 Motor Vehicle 380 Other Personal 8 LABOR SOCIAL SECURITY Exchange
160 Stockholders’ Suits 355 Motor Vehicle Property Damage (LJ 710 Fair Labor Standards 861 HIA (1395ff) [1875 Customer Challenge
190 Other Contract Product Liability (C] 385 Property Dama Act 862 Black Lung (923) 12 USC 3410
195 Contract Product Liability [7] 360 Other Personal Injury Product Liability 4 720 Labor/Mgmt. Relations 863 DIWC/DIWW (405(g)) |las890 Other Statutory Actions
196 Franchise 730 Labor/Mgmt.Reporting 864 SSID Title XVI 891 Agricultural Acts
REAL PROPERTY CIVIL RIGHTS __|PRISONER PETITIONS & Disclosure Act 865 RSI (405(g)) 892 Economic Stabilization Act
- - - 740 Railway Labor Act 893 Environmental Matters
[[] 210 Land Condemnation [] 441 Voting [_] 510 Motions to Vacate 790 Other Labor Litigation 894 Energy Allocation Act
220 Foreclosure 442 Employment Sentence 791 Empl. Ret. Inc. FEDERAL TAX SUITS 895 Freedom of Information
230 Rent Lease & Ejectment 443 Housing/ Habeas Corpus: Security Act — Act
240 Torts to Land Accommodations 530 General [) 870 Taxes (U.S. Plaintiff [900Appeal of Fee Determination
245 Tort Product Liability 444 Welfare 535 Death Penalty or Defendant) Under Equal Access
290 All Other Real Property 445 Amer. w/Disabilities -|["] 540 Mandamus & Other IMMIGRATION D0 871 IRS—Third Party to Justice
Employment 550 Civil Rights 462 Naturalization Application 26 USC 7609 [1950 Constitutionality of
(CO 446 Amer. w/Disabilities +[_] 555 Prison Condition 463 Habeas Corpus ~ State Statutes
Other °
son: Alien Detainee
440 Other.Civil Rights oO 465 Other Immigration
Actions
V. ORIGIN Place an “X” in One Box Only) Transferred from Appeal to District
(1 1 Original [2 Removed from []3 Remanded from C4 Reinstated or [[] 5 another district OD 6 Multidistrict (1 7 Judge from
Proceeding State Court Appellate Court Reopened (specify) Litigation Magistrate
Judgment

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

28 U.S.C. § 1332

VI. CAUSE OF ACTION | Brief description of cause:

Plaintiff alleges Defendant unlawfully misclassified him as independent contractor resulting in unlawful pay
deductions, plaintiff incurring expenses that should have been borne by Defendant and unpaid compensation.

VIT. REQUESTEDIN  [& CHECK IF THISISA CLASS ACTION DEMAND $75,001.00-4 CHECK YES only if demanded in complaint:
COMPLAINT: UNDER F.R.C-P. 23 JURY DEMAND: Bi Yes [No
VIII. RELATED CASE(S) _. .
(See instructions): .
IF ANY JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
December 17, 2010 /s/ Christopher B. Kaczmarek

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